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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

PAUL MROZ,                                     )
                                               )
                Plaintiff,                     )
                                               )
        v.                                     )       No. 3:14-cv-50213
                                               )
BLUESTEM BRANDS, INC.                          )
D/B/A/ FINGERHUT ,                             )
                                               )
                Defendant.                     )

                                  PLAINTIFF’S COMPLAINT

       NOW COMES Plaintiff, PAUL MROZ (“Plaintiff”), by and through his attorneys, KROHN

& MOSS, LTD., for his Complaint against BLUESTEM BRANDS, INC. D/B/A/ FINGERHUT

(“Defendant”), alleges the following:

                                        INTRODUCTION

        1.      Plaintiff’s Complaint alleges that Defendant negligently, knowingly and/or willfully

violated the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                 JURISDICTION AND VENUE

        2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331.

        3.      Defendant conducts business in the State of Illinois establishing personal

jurisdiction.

        4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                             PARTIES

        5.      Plaintiff is a natural person residing in Sterling, Whiteside County, Illinois.

        6.      Defendant is a business entity with an office located at 6509 Flying Cloud Dr., Eden

Prairie, Minnesota 55344.

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       7.      Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

       8.      In or around the end of May, 2014, Plaintiff started receiving telephone calls from

Defendant on his cellular telephone number, (815) 632-96xx.

       9.      Defendant has been assigned multiple telephone numbers from its telephone service

provider(s) which were used to call Plaintiff including, but not limited to, 877-503-6145 and 888-

484-0242.

       10.     Defendant’s calls to Plaintiff’s cellular telephone were placed using an automatic

telephone dialing system or other equipment capable of storing and producing telephone numbers at

random or sequential periods to be dialed (“auto dialer”).

       11.     Plaintiff is not the individual that Defendant is trying to call.

       12.     Plaintiff does not have a relationship with Defendant and never gave Defendant his

consent to call his cellular telephone.

       13.     After the calls began, Plaintiff informed Defendant that it was calling the wrong

telephone number and that he doesn’t know the person that Defendant is trying to call.

       14.     Defendant continued to use an auto dialer to call Plaintiff’s cellular telephone,

sometimes calling Plaintiff multiple times per day.

       15.     Defendant’s calls to Plaintiff’s cellular telephone include, but are not limited to, the

following:

               1)      6/12/2014 8:45 AM
               2)      6/14/2014 3:59 AM
               3)      6/14/2014 8:59 AM
               4)      6/15/2014 8:47 AM
               5)      6/15/2014 11:14 AM
               6)      6/15/2014 1:47 PM

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       7)    6/15/2014 4:14 PM
       8)    6/24/2014 12:02 PM
       9)    6/25/2014 11:41 AM
       10)   6/26/2014 1:09 PM
       11)   6/27/2014 5:07 AM
       12)   6/28/2014 4:51 AM
       13)   6/29/2014 9:40 AM
       14)   6/29/2014 10:46 AM
       15)   7/7/2014 4:27 AM
       16)   7/7/2014 6:39 AM
       17)   7/7/2014 8:43 AM
       18)   7/7/2014 10:46 AM
       19)   7/7/2014 12:49 PM
       20)   7/8/2014 3:24 AM
       21)   7/8/2014 5:38 AM
       22)   7/8/2014 7:42 AM
       23)   7/8/2014 9:46 AM
       24)   7/8/2014 11:50 AM
       25)   7/8/2014 1:54 PM
       26)   7/9/2014 3:37 AM
       27)   7/9/2014 5:44 AM
       28)   7/9/2014 7:57 AM
       29)   7/9/2014 10:10 AM
       30)   7/9/2014 12:17 PM
       31)   7/9/2014 2:22 PM
       32)   7/10/2014 3:32 AM
       33)   7/10/2014 5:51 AM
       34)   7/10/2014 7:57 AM
       35)   7/10/2014 12:13 PM
       36)   7/10/2014 2:19 PM
       37)   7/11/2014 3:35 AM
       38)   7/11/2014 8:00 AM
       39)   7/11/2014 10:13 AM
       40)   7/11/2014 12:20 PM
       41)   7/11/2014 2:25 PM
       42)   7/12/2014 3:45 AM
       43)   7/12/2014 6:05 AM
       44)   7/12/2014 8:12 AM
       45)   7/12/2014 10:17 AM
       46)   7/13/2014 8:48 AM
       47)   7/13/2014 1:16 PM
       48)   7/14/2014 3:34 AM
       49)   7/14/2014 5:44 AM
       50)   7/15/2014 3:37 AM
       51)   7/15/2014 5:51 AM
       52)   7/15/2014 7:59 AM

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               53)     7/15/2014 10:19 AM
               54)     7/16/2014 11:05 AM
               55)     7/16/2014 1:14 PM
               56)     7/17/2014 4:49 AM
               57)     7/17/2014 8:01 AM
               58)     7/17/2014 10:46 AM
               59)     7/18/2014 3:46 AM
               60)     7/18/2014 9:38 AM
               61)     7/18/2014 12:43 PM
               62)     7/18/2014 2:49 PM
               63)     7/19/2014 3:52 AM
               64)     7/19/2014 7:21 AM
               65)     7/19/2014 9:26 AM
               66)     7/20/2014 8:33 AM
               67)     7/20/2014 11:06 AM
               68)     7/20/2014 1:19 PM
               69)     7/21/2014 4:27 AM
               70)     7/21/2014 7:03 AM
               71)     7/21/2014 9:06 AM
               72)     7/21/2014 11:24 AM
               73)     7/21/2014 1:29 PM
               74)     7/22/2014 10:32 AM
               75)     7/24/2014 7:50 AM
               76)     7/28/2014 5:26 AM
               77)     8/13/2014 10:36 AM
               78)     8/13/2014 10:09 AM
               79)     8/13/2014 3:58 PM
               80)     8/13/2014 4:42 PM

       16.     Despite Plaintiff’s insistence that Defendant is calling the wrong person, Defendant

placed at least eighty (80) phone calls to Plaintiff’s cellular phone without Plaintiff’s consent.

                            COUNT I
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

       17.     Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

pursuant to 47 U.S.C. § 227(b)(3)(B).




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         18.    Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory damages for

each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

         WHEREFORE, Plaintiff, PAUL MROZ, respectfully requests judgment be entered

against Defendant, BLUESTEM BRANDS INC. D/B/A/ FINGERHUT, for the following:

         19.    Statutory damages of $500.00 for each and every negligent violation of the TCPA

pursuant to 47 U.S.C. § (b)(3)(B);

         20.    Statutory damages of $1500.00 for each and every knowing and/or willful violation

of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

         21.    All court costs, witness fees and other fees incurred;

         22.    Any other relief that this Court deems appropriate.




Dated:          September 19, 2014                            KROHN & MOSS, LTD.


                                                  By: ____________________________
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